                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                  1:07cr28-6


UNITED STATES OF AMERICA,                          )
                                                   )
Vs.                                                )             ORDER
                                                   )
JAMES AUGUSTUS WILLIAMS,                           )
                                                   )
                  Defendant.                       )
________________________________________           )


       THIS CAUSE coming on to be heard and was heard before the undersigned, pursuant

to a letter written to the undersigned by the defendant filed on April 30, 2007. In the letter,

the defendant requests that substitute counsel be appointed for him. Upon the call of this

matter on for hearing, it appeared that the defendant was present, that his attorney, Tony

Rollman was present and that the Government was represented by the Assistant United States

Attorney, and from the statements of the defendant and the statements of Mr. Rollman, the

court makes the following findings:

       Findings:     That court addressed the defendant and allowed the defendant to state

what problems existed between the defendant and Mr. Rollman that such as would require

substitution of counsel. Prior to allowing the defendant to make a statement to the court, the

court explained to the defendant that there were three factors that the court would have to

consider, that being: (1) Timeliness of the motion; (2) Inquiry as to the reasons why the

defendant does now wish for Mr. Rollman to represent him further; and (3) Whether or not

there is such a conflict between the defendant and Mr. Rollman that is so great that it has

resulted in a total lack of communication preventing an adequate defense.
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       The defendant stated to the court that he had sent the letter because he had been

advised by his mother that Mr. Rollman had spoken rudely to the defendant’s mother during

a telephone call that the defendant’s mother had made to Mr. Rollman requesting information

about the charges against the defendant. The defendant did not give the court any further

information by which he expressed any dissatisfaction with Mr. Rollman.

       The court then inquired of Mr. Rollman’s position in regard to the matter and Mr.

Rollman advised the court that he had no objection for counsel being substituted in place and

stead of Mr. Rollman as it was Mr. Rollman’s opinion that the defendant should have an

attorney in whom he had confidence.

       Discussion: An indigent defendant has no right to have a particular lawyer represent

him or her and can demand a different appointed attorney only with good cause. United

States v Allen, 789 F.2d 90, 92 (1 st Cir. 1986). The determination of whether or not the

motion for substitution of counsel should be granted is within the discretion of the trial court

and the court is entitled to take into account the countervailing state interest in proceeding

on schedule. Morris v Slappy, 461 U.S. 1 (1983). In considering the motion herein, the

undersigned has considered the following factors:       (1) The timeliness of the motion; (2)

Inquiry as to the reasons why the defendant does not wish for Mr. Rollman to represent him

further; and (3) Whether or not there is such a conflict between the defendant and Mr.

Rollman that is so great that it has resulted in a total lack of communication preventing an

adequate defense. United States v Gallop, 838 F.2d 105 (4 th Cir. 1988).

       The defendant was indicted on April 3, 2007. Thereafter, an arraignment was held



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for the defendant and a detention hearing was held and a written order detaining the

defendant was filed on April 11, 2007. The hearing of this motion occurred on May 7, 2007.

Trial in this matter will, in all likelihood, will be scheduled for the July 2007 term. As a

result of the above referenced scheduling, the court must consider that the defendant’s

motion is not timely.

       The undersigned inquired as to the reasons for the conflict between the defendant and

Mr. Rollman. At the hearing it appeared that the problem and conflict was not between the

defendant and Mr. Rollman, but between the defendant’s mother and Mr. Rollman. This

small degree of conflict must be weighed against allowing the defendant’s motion. The court

has further examined the matter to determine whether or not there is such conflict between

the defendant and Mr. Rollman that there is a total lack of communication between them

preventing an adequate defense. At this time, it does not appear to the undersigned that such

a conflict exist between Mr. Rollman and the defendant that would prevent an adequate

defense. Mr. Rollman is an excellent attorney who works diligently on behalf of his clients.

Corey Ellis, Assistant United States Attorney representing the Government at the hearing of

this matter, stated in open court that Mr. Rollman had been in contact with him concerning

the defendant’s case more than any other attorney that was representing any of the co-

defendant’s in this matter. The court is of the opinion that to substitute counsel for Mr.

Rollman would be a detriment to the defendant and to his defense in this matter.

       After considering all the factors, it appears that there is little time before trial within

which to appoint other counsel who has knowledge of the case that Mr. Rollman possesses.



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That as a result of the inquiry made by the undersigned, the undersigned can find no good

reason for the appointment of another attorney and there does not appear to be a lack of

communication between Mr. Rollman and the defendant that would prevent an adequate

defense.   Based upon the foregoing, the undersigned has determined to enter an order

denying the defendant’s motion for substitution of counsel.

                                        ORDER

      IT, IS, THEREFORE ORDERED that the motion of the defendant for the substitution

of counsel is hereby DENIED.




                                            Signed: May 10, 2007




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